Case 2:19-bk-03001-BKM   Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 1 of 41
Case 2:19-bk-03001-BKM   Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 2 of 41
Case 2:19-bk-03001-BKM   Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 3 of 41
Case 2:19-bk-03001-BKM   Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 4 of 41
Case 2:19-bk-03001-BKM   Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 5 of 41
Case 2:19-bk-03001-BKM   Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 6 of 41
Case 2:19-bk-03001-BKM   Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 7 of 41
Case 2:19-bk-03001-BKM   Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 8 of 41
Case 2:19-bk-03001-BKM   Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 9 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 10 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 11 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 12 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 13 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 14 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 15 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 16 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 17 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 18 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 19 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 20 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 21 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 22 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 23 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 24 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 25 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 26 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 27 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 28 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 29 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 30 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 31 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 32 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 33 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 34 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 35 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 36 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 37 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 38 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 39 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 40 of 41
Case 2:19-bk-03001-BKM    Doc 8 Filed 03/19/19 Entered 03/20/19 13:37:36   Desc
                         Main Document    Page 41 of 41
